Case 21-00086-JMM         Doc 103     Filed 02/16/22 Entered 02/16/22 14:57:47              Desc Main
                                     Document     Page 1 of 2



                           UNITED STATES BANKRUPTCY

                             COURT DISTRICT OF IDAHO


  IN RE:                                                 CHAPTER 13

  Angelina Audrey Mitchell,                              Case No. 21-00086-JMM

                                  Debtor(s).

                          ORDER CONFIRMING CHAPTER 13 PLAN


 IT HAVING BEEN DETERMINED AFTER NOTICE AND HEARING THAT:

        1. The chapter 13 plan, Docket No. 59, complies with the provisions of 11 U.S.C.
 § 1325.
        2. Debtor(s) filed all state and federal tax returns required by law to be filed for all
 taxable periods ending the 4-year period prior to the filing of this bankruptcy.

        3. Debtor(s) have paid all domestic support obligations, as defined in 11 U.S.C.
 § 101(14A), that first became due and payable after the filing of this bankruptcy which they
 were required to pay by a judicial or administrative order or by statute.

        IT IS HEREBY ORDERED THAT:

 The chapter 13 plan is confirmed, and related motions contained therein are granted,
 incorporating the following:

 a. In accordance with the Stipulation to Preserve Trustee’s Objection to Debtor’s Claim of
 Exemption, Docket No. 82, Debtor shall pay unsecured creditors 100% of their allowed claims.
 In order to pay all allowed unsecured claims in full, beginning with the payment due in the
 month of November 2024, Debtor’s monthly plan payment shall increase to at least $1,930 or
 whatever higher amount that is necessary to pay all unsecured claims in full depending on the
 disposition of the former Chapter 7 Trustee’s Application for Payment of Administrative Fee
 and Costs of Chapter 7 Trustee.

 b. Notwithstanding ¶1.4 of Debtor’s Plan, and in accordance with the Order Granting Motion
 to Vacate Discharge, Docket No. 97, Debtor is eligible for discharge of debts.

 c. Notwithstanding ¶4.4 of Debtor’s Plan, and in accordance with the Order Approving Final
 Compensation to Chapter 7 Trustee’s Attorneys, Docket No. 93, Evans Keane, LLP, shall have
 a claim in the amount of $3,514.90, which shall be entitled to 11 U.S.C. § 507(a)(2) priority
 status.
Case 21-00086-JMM        Doc 103    Filed 02/16/22 Entered 02/16/22 14:57:47            Desc Main
                                   Document     Page 2 of 2


 d. Notwithstanding ¶4.4 of Debtor’s Plan, and to the extent the Court grants the former
 Chapter 7 Trustee’s Application for Payment of Administrative Fee and Costs of Chapter 7
 Trustee, Docket No. 74, the former Chapter 7 Trustee, Timothy Kurtz, shall have a claim
 entitled to 11 U.S.C. § 507(a)(2) priority status in the amount as determined by the Court upon
 final disposition of the former trustee’s application.

 e. Notwithstanding ¶7.1 of Debtor’s plan, Debtor’s interest in the real property located at 7933
 W. Sonara Road, Caldwell, ID 83607 shall remain property of the estate and not revest in the
 Debtor upon confirmation. Debtor shall not be permitted to sell, transfer, or encumber said real
 property without prior approval of the Court or the Trustee.

                                   DATED: February 16, 2022



                                   ________________________
                                   JOSEPH M. MEIER
                                   CHIEF U. S. BANKRUPTCY JUDGE




 /s/_____________________________
 Kathleen McCallister, Trustee

 /s/_______________________________
 Holly E. Sutherland, Counsel for the Debtor(s)

 /s/______________________________
 Angelina Audrey Mitchell, Debtor
